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 8                                UNITED STATES DISTRICT COURT
 9                           CENTRAL DISTRICT OF CALIFORNIA
10
     BACKGRID USA, INC.,                               Case No.: 2:21-cv-1409
11
                     Plaintiff,                        COMPLAINT FOR COPYRIGHT
12                                                     INFRINGEMENT
     v.
13                                                     Jury Trial Demanded
     CASANDRA VENTURA,
14
                     Defendant.
15

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17

18         Plaintiff BackGrid USA, Inc., for its Complaint against Defendant Casandra
19   Ventura, alleges as follows:
20         1.        This is an action for direct, contributory, and vicarious copyright
21   infringement brought by plaintiff, the holder of all copyrights to the photographs
22   described below (the “Photographs”), against defendant under the copyright laws of
23   the United States, 17 U.S.C §101, et seq., requesting actual or statutory damages and
24   other relief, stemming from defendant’s unauthorized exploitation of plaintiff’s
25   copyrighted photographic images.
26                                        JURISDICTION
27         2.        This action arises under the Copyright Act of 1976, Title 17 U.S.C.
28   § 101 et seq.
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 1         3.     This Court has jurisdiction over the subject matter of this action under
 2   28 U.S.C. § 1331 (federal question) and § 1338 (copyright).
 3                                           PARTIES
 4                                            Plaintiff
 5         4.     Plaintiff BackGrid USA, Inc. is an entity organized and existing under
 6   the laws of the state of California with its principal place of business in Redondo
 7   Beach, California. BackGrid is a global premier celebrity news and photo agency that
 8   provides the world’s top news outlets with real-time content from the world’s top
 9   photographers.
10         5.     BackGrid also maintains a library of photographs on a diverse range of
11   subjects including celebrities, music, sports, fashion, and royalty. BackGrid licenses
12   its photographs to leading magazines, newspapers, and editorial clients, throughout
13   the world, including in the United States and in California.
14         6.     BackGrid conducts business as a syndicator of photos and photo features
15   of popular content. The business model is predicated on licensing the use of work to
16   many different licensees, each of which pays a fee to publish.
17         7.     But repeated, almost instantaneous acts of content piracy destroy the
18   syndication value of the work of content creators and owners like BackGrid. When
19   content is distributed widely for free by infringers, legitimate licensors like
20   BackGrid’s customers will decline to license that content, or the amount they are
21   willing to pay will be reduced. Legitimate publications to which BackGrid looks to
22   pay licensing fees are unwilling to pay for work that is already widely disseminated
23   on the internet for free. This is especially true when, as here, celebrities distribute
24   images of themselves to their millions of followers without authorization.
25                                           Defendant
26         8.     Defendant Casandra Ventura, known mononymously as Cassie, is an
27   American recording artist, model, and actress. On information and belief, Ms.
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                                             COMPLAINT
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 1   Ventura is the owner and operator of the Instagram account @cassie, which is
 2   publicly accessible.
 3                                    Personal Jurisdiction
 4          9.     This Court has personal jurisdiction over defendant because, on
 5   information and belief, she resides in the State of California and this judicial district
 6   and, on information and belief, is also doing business in the State of California and in
 7   this judicial district.
 8                                             Venue
 9          10.    Venue in this judicial district is proper under 28 U.S.C. § 1391(b)(1) and
10   28 U.S.C. § 1400(a).
11                             FACTS SUPPORTING ALL CLAIMS
12          11.    Defendant used BackGrid’s Photographs without authorization,
13   permission, license, or justification, as follows:
14                                        Infringements
15          12.    BackGrid is the owner and copyright holder of photographic images
16   depicting defendant Ms. Ventura walking in public with Sean Combs (the
17   “Photographs”). The Photographs were registered with the United States Copyright
18   Office as Registration No. VA 2-103-064 (eff. May 16, 2018).
19          13.    BackGrid never licensed the Photographs to Ms. Ventura. Nevertheless,
20   Ms. Ventura used the Photographs without authorization or permission to do so.
21          14.    Specifically, Ms. Ventura or her agents copied the Photographs and
22   displayed them on Instagram on February 20, 2018, via her account @cassie.
23          15.    BackGrid discovered Ms. Ventura’s infringement of the Photographs 1
24   on or about February 20, 2018.
25                         Defendant’s Infringements Harmed BackGrid
26          16.    The Photographs are creative, distinctive, and—as evidenced by
27   Defendant’s use and misappropriation of them—valuable. Because of Defendant’s
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                                             COMPLAINT
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 1   popularity and celebrity status, and because of the Photographs’ quality and visual
 2   appeal, BackGrid stood to gain revenue from licensing the Photographs.
 3         17.    But Defendant’s unauthorized use of the Photographs harms the existing
 4   and future market for the Photographs, especially when such unauthorized use
 5   occurred at or around the same time as licensed copies of the Photographs were
 6   publicized. Defendant’s Instagram posts made the Photographs immediately available
 7   to her 7.5 million followers and to the public, including consumers of entertainment
 8   news—and especially news and images of defendant herself, as evidenced by their
 9   status as Instagram followers of defendant—who would otherwise be interested in
10   viewing licensed versions of the Photographs in the magazines, newspapers, and
11   online publications that are BackGrid’s customers.
12                                       CLAIM ONE
13                     (For Copyright Infringement, 17 U.S.C. § 501)
14         18.    BackGrid realleges and incorporates by reference the allegations
15   contained in the preceding paragraphs of this Complaint as if fully set forth here.
16         19.    BackGrid is the author and or/copyright owner of the protected
17   Photographs named above in this Complaint.
18         20.    Defendant has reproduced, displayed, distributed or otherwise copied the
19   Photographs without BackGrid’s authorization or license.
20         21.    The foregoing acts of Defendant infringed upon the exclusive rights
21   granted to photographers under 17 U.S.C. § 106 to display, reproduce, and distribute
22   their work to the public. Such actions and conduct constitute copyright infringement
23   in violation of 17 U.S.C. §§ 501 et seq.
24         22.    BackGrid has complied in all respects with 17 U.S.C §§ 101 et seq. and
25   secured and registered the exclusive rights and privileges in and to the copyrights of
26   the above-referenced works in accordance with 17 U.S.C § 408.
27         23.    BackGrid suffered damages as a result of Defendant’s unauthorized use
28   of the Photographs.
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                                           COMPLAINT
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 1         24.     Having timely registered the copyright in the Photographs, BackGrid is
 2   entitled to elect statutory damages under 17 U.S.C. § 412 and § 504(c), in an amount
 3   of not less than $750 or more than $30,000 per infringement of each work registered
 4   before the infringements.
 5         25.     As a recording artist and actress, Defendant operates in an industry in
 6   which copyrights are prevalent and well-understood. Based on that knowledge,
 7   Defendant was aware of the importance of copyright protection and knew that she
 8   needed to have but did not have permission to use the Photographs, and/or she acted
 9   recklessly by posting the Photographs without determining her right to do so. Such
10   actions will support an award of enhanced statutory damages for willful infringement
11   under the Copyright Act, 17 U.S.C. § 504(c)(2), in the sum of up to $150,000 per
12   infringed work.
13         26.     In the alternative, BackGrid is entitled to recovery of its actual damages
14   and Defendant’s profits attributable to the infringement of the Photographs, under 17
15   U.S.C. § 504(b).
16         27.     Within the time permitted by law, BackGrid will make its election
17   between actual damages and profit disgorgement, or statutory damages.
18         28.     BackGrid is also entitled to a discretionary award of attorney fees under
19   17 U.S.C. § 412 and § 505.
20                                        CLAIM TWO
21               (For Vicarious and/or Contributory Copyright Infringement)
22         29.     BackGrid realleges and incorporates by reference the allegations
23   contained in the preceding paragraphs of this Complaint as if fully set forth here.
24         30.     If Defendant is not liable as a direct infringer of the Photographs, she is
25   secondarily liable for the infringements directly committed by individual employees,
26   contractors, or other infringers presently unknown (the “Direct Infringers”).
27         31.     Defendant contributed to, induced, or assisted infringements by the
28   Direct Infringers. Those Direct Infringers infringed while acting under Defendant’s
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                                             COMPLAINT
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 1   direction and control and/or using technology, facilities, and support services
 2   provided by Defendant.
 3            32.   Defendant had, or should have had, knowledge of the infringements of
 4   the Direct Infringers. Further, the Photographs were published on Defendant’s
 5   Instagram account and Defendant was, or should have been, aware of that fact.
 6            33.   Defendant had the right and ability to supervise the infringing activity
 7   that all the Direct Infringers committed because the infringements occurred on her
 8   Instagram account.
 9            34.   Defendant obtained some financial benefit from the infringement of
10   BackGrid’s rights in the Photographs because, on information and belief, Defendant
11   has monetized her Instagram account, and because the Photographs were a draw for
12   viewers regardless of the revenue received from any specific use. Accordingly,
13   Defendant had an incentive to permit and even encourage infringement by the Direct
14   Infringers.
15            35.   As a direct and proximate result of said acts of secondary infringement,
16   BackGrid has suffered substantial damages in an amount to be proven at trial.
17            36.   BackGrid is entitled to actual damages and disgorgement of direct and
18   indirect profits realized by Defendant in an amount to be proven at trial or, at its
19   election, statutory damages.
20            37.   Within the time permitted by law, BackGrid will make its election
21   between actual damages and profit disgorgement, or statutory damages.
22            38.   BackGrid is further entitled to attorney fees and costs under 17 U.S.C.
23   § 505.
24                                   PRAYER FOR RELIEF
25   WHEREFORE, BackGrid requests the following:
26            A.    For a preliminary and permanent injunction against Defendant and
27   anyone working in concert with her from further copying, displaying, distributing,
28   selling, or offering to sell the Photographs;
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                                             COMPLAINT
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 1          B.    For an order requiring defendant to account to plaintiff for profits and
 2   any damages sustained by BackGrid arising from the acts of infringement;
 3          C.    As permitted under 17 U.S.C. § 503, for impoundment of all copies of
 4   the Photographs used in violation of BackGrid’s copyrights—including digital copies
 5   or any other means by which they could be used again by Defendant without
 6   BackGrid’s authorization—as well as all related records and documents;
 7          D.    For actual damages and all profits derived from the unauthorized use of
 8   the Photographs or, where applicable and at BackGrid’s election, statutory damages;
 9          E.    For an award of pre-judgment interest as allowed by law;
10          F.    For reasonable attorney fees;
11          G.    For court costs, expert witness fees, and all other costs authorized under
12   law;
13          H.    For such other and further relief as the Court deems just and proper.
14

15                                 JURY TRIAL DEMAND
16          Plaintiff demands a trial by jury of all issues permitted by law.
17

18   Dated: February 16, 2021        Respectfully submitted,
19                                   PERKOWSKI LEGAL, PC
20

21                                   By:    /s/ Peter Perkowski
                                           Peter E. Perkowski
22
                                           Attorneys for Plaintiff
23                                         BACKGRID USA, INC.
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                                            COMPLAINT
